            Case 2:19-cv-00016-TOR                  ECF No. 24           filed 05/24/22    PageID.166 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_
                                                     Eastern District of Washington


     PROTECTIVE LIFE INSURANCE COMPANY,                              )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:19-CV-0016-TOR
                                                                     )
         DAVID L. PETTIS, DAVID W. PETTIS,                           )
       JAMES BECKLEY, and ELIZABETH CULP,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Clerk of Court shall remit the funds on deposit, including interest (less any fees as set by the Director of the
u
              Administrative Office and authorized by the Judicial Conference of the United States, 28 U.S.C. § 1914) to Elizabeth
              Culp, 50%, and to David W. Pettis, 50%, at their addresses of record.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              THOMAS O. RICE.




Date: May 24, 2022                                                           CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                                V%)RUWHQEHUU\
                                                                                           %\ Deputy Clerk

                                                                                 %)RUWHQEHUU\
